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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



PAUL STANLEY,

                Plaintiff,
                                                         CIVIL ACTION NO. 16-10480-TSH
v.

SUNRISE MEDICAL, LLC, and UNITED
SEATING AND MOBILITY, LLC d/b/a
NUMOTION,

                Defendants.


               ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT

       Defendant, Sunrise Medical (US) LLC, incorrectly identified as Sunrise Medical, LLC

("Sunrise" or "Defendant") hereby answers the Plaintiff Paul Stanley's (“Plaintiff”) Complaint in

the above-captioned action as follows:

                                              FACTS

       1.       The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       2.       Sunrise denies that it is a corporation, but admits the remaining allegations

contained in this paragraph.

       3.       The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       4.       The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       5.       Admitted.

       6.       Admitted.



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       7.       Admitted.

       8.       Admitted.

       9.       The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       10.      The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       11.      The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       12.      The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       13.      The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       14.      The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       15.      The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       16.      The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       17.      The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       18.      The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.




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       19.     The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       20.     The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       21.     The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       22.     The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       23.     The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

       24.     The Defendant is without knowledge or information sufficient to form a belief as

to the truth of the allegations contained in this paragraph.

                                   COUNT I – NEGLIGENCE
                                      (As against Sunrise)

       25.     The Defendant repeats and incorporates herein by reference its responses to the

allegations contained in paragraphs 1 through 24 as if fully set forth herein.

       26.     This paragraph contains legal conclusions to which no response is required. To

the extent this paragraph contains factual allegations, they are denied.

       27.     This paragraph contains legal conclusions to which no response is required. To

the extent this paragraph contains factual allegations, they are denied.

       28.     Denied.

       29.     Denied.

       30.     Denied.




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                                  COUNT II - NEGLIGENCE
                                    (As against Numotion)

       31.     The Defendant repeats and incorporates herein by reference its responses to the

allegations contained in paragraphs 1 through 30 as if fully set forth herein.

       32.     The allegations as set forth in paragraph 32 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,

Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 32 of the Complaint and, therefore, denies the same.

       33.      The allegations as set forth in paragraph 33 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,

Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 33 of the Complaint and, therefore, denies the same.

       34.     The allegations as set forth in paragraph 34 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,

Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 34 of the Complaint and, therefore, denies the same.

       35.     The allegations as set forth in paragraph 35 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,

Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 35 of the Complaint and, therefore, denies the same.

       36.     The allegations as set forth in paragraph 36 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,


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Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 36 of the Complaint and, therefore, denies the same.

       37.     The allegations as set forth in paragraph 37 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,

Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 37 of the Complaint and, therefore, denies the same.

                          COUNT III – BREACH OF WARRANTY
                                   (As against Sunrise)

       38.     The Defendant repeats and incorporates herein by reference its responses to the

allegations contained in paragraphs 1 through 37 as if fully set forth herein.

       39.     Denied.

       40.     Denied.

       41.     Denied.

       42.     Denied.

       43.     This paragraph contains legal conclusions to which no response is required. To

the extent this paragraph contains factual allegations, they are denied.

       44.     This paragraph contains legal conclusions to which no response is required. To

the extent this paragraph contains factual allegations, they are denied.

       45.     Denied.

                          COUNT IV – BREACH OF WARRANTY
                                 (As against Numotion)

       46.     The Defendant repeats and incorporates herein by reference its responses to the

allegations contained in paragraphs 1 through 45 as if fully set forth herein.




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       47.     The allegations as set forth in paragraph 47 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,

Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 47 of the Complaint and, therefore, denies the same.

       48.      The allegations as set forth in paragraph 48 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,

Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 48 of the Complaint and, therefore, denies the same.

       49.     The allegations as set forth in paragraph 49 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,

Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 49 of the Complaint and, therefore, denies the same.

       50.     The allegations as set forth in paragraph 50 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,

Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 50 of the Complaint and, therefore, denies the same.

       51.     The allegations as set forth in paragraph 51 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,

Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 51 of the Complaint and, therefore, denies the same.

       52.     The allegations as set forth in paragraph 52 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,




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Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 52 of the Complaint and, therefore, denies the same.

       53.      The allegations as set forth in paragraph 53 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,

Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 53 of the Complaint and, therefore, denies the same.

                       COUNT V – VIOLATION OF M.G.L. c. 93A, § 9
                                   (As against Sunrise)

       54.     The Defendant repeats and incorporates herein by reference its responses to the

allegations contained in paragraphs 1 through 53 as if fully set forth herein.

       55.     Denied.

       56.     The Defendant only admits that it received a letter dated July 16, 2015 sent on

behalf of the Plaintiff but denies that the letter complied with the requirements of M.G.L. c. 93A,

§ 9 and further, denies all remaining allegations contained in paragraph 56 of the Complaint.

                      COUNT VI – VIOLATION OF M.G.L. c. 93A, § 9
                                 (As against Numotion)

       57.     The Defendant repeats and incorporates herein by reference its responses to the

allegations contained in paragraphs 1 through 56 as if fully set forth herein.

       58.     The allegations as set forth in paragraph 58 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,

Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 58 of the Complaint and, therefore, denies the same.

       59.     The allegations as set forth in paragraph 59 of the Complaint are not directed to

Sunrise, and therefore no response is required. To the extent a response may be required,



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Sunrise is without knowledge or information sufficient to form a belief as to the truth or falsity

of the allegations as set forth in paragraph 59 of the Complaint and, therefore, denies the same.

                                  AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

       The Complaint fails to state a cause of action upon which relief can be granted.

                             SECOND AFFIRMATIVE DEFENSE

       The Plaintiff's Complaint against the Defendant is barred by the doctrines of waiver,

unclean hands, estoppel, judicial and collateral estoppel, and res judicata.

                              THIRD AFFIRMATIVE DEFENSE

       The Plaintiff's claims are barred to the extent that the Plaintiff failed to mitigate his

damages, if any.

                             FOURTH AFFIRMATIVE DEFENSE

       The Plaintiff's Complaint is barred by the applicable statute of limitations.

                              FIFTH AFFIRMATIVE DEFENSE

       The Plaintiff's Complaint is barred in whole or in part as a result of comparative fault

and/or culpable conduct of the Plaintiffs.

                              SIXTH AFFIRMATIVE DEFENSE

        Plaintiff's alleged damages were a result of independent, superseding and/or intervening

causes over which Defendant had no control, and for which it cannot be held legally liable.

                            SEVENTH AFFIRMATIVE DEFENSE

       The benefits of the product outweigh the risk of danger or harm, if any, inherent in the

product.




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                                EIGHTH AFFIRMATIVE DEFENSE

       The product that is at issue in this lawsuit was not in an unreasonably dangerous

condition.

                                       NINTH DEFENSE

       Sunrise's product was not defective in manufacture, design or construction and it

conformed to all representations made by Sunrise, if any.

                                      TENTH DEFENSE

       There is no duty to warn about any possible dangers that were not known at the time of

manufacture and sale of product in question.

                                    ELEVENTH DEFENSE

       Plaintiff's claims are barred, in whole or in part, from recovery due to spoliation of

evidence.

                                     TWELFTH DEFENSE

       Sunrise breached no warranties, either express or implied, which may have existed

between it and the Plaintiff.

                                   THIRTEENTH DEFENSE

       There were no warranties, either express or implied, between the Plaintiff and Sunrise.

                                   FOURTEENTH DEFENSE

       Plaintiff's claims of breach of warranty fail because there was no privity between the

Plaintiff and Sunrise.

                                    FIFTEENTH DEFENSE

       Plaintiff failed to comply with all prerequisites of Chapter 93A including the filing of a

valid demand letter.



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                                     SIXTEENTH DEFENSE

         Sunrise incorporates the defenses of all others who are or may become parties to this

action as though more fully set forth herein.

                                   SEVENTEENTH DEFENSE

         Sunrise reserves the right to amend this answer to raise any and all defenses, affirmative

or otherwise, which may become available during the course of this action.

         WHEREFORE, defendant, Sunrise Medical (US) LLC, by counsel, demands:

         1.     That any and all claims against it in the Complaint be dismissed with prejudice;

         2.     Its costs herein expended; and

         3.     Any and all other relief to which it may be entitled.

                                          JURY DEMAND

         Sunrise hereby demands a trial by jury on all issues so triable.



                                                    Respectfully submitted,
                                                    Attorneys for Defendants,
                                                    SUNRISE MEDICAL (US) LLC,


                                                    /s/ Jamie L. Kessler
                                                    Geoffrey Coan, BBO #641998
                                                    Jamie L. Kessler, BBO #681867
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                                                    617-213-7001 (facsimile)
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                                                             jkessler@hinshawlaw.com

Dated:        March 15, 2016




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                                 CERTIFICATE OF SERVICE

        I, Jamie L. Kessler, hereby certify that the documents filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on March
15, 2016.

                                                    /s/ Jamie L. Kessler
                                                    Jamie L. Kessler




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